                        UNITED STATES DISTRICT COURT

                          WESTERN DISTRICT OF TEXAS

                                 EL PASO DIVISION
                                                                              I'
UNITED STATES OF AMERICA,               §                   INDICTMENT
                          Plaintiff,    §
                                        §
v.                                      §     Cause No.     EP-1 2-CR-
                                        §
MARK EDWARD ERHARDT,         §                VIOLATIONS:
                  Defendant. §                Counts 1-2: 18 U.S.C. § 2252(a)(2)   -
                                        §     Receipt/Distribution of Material
                                        §     Involving the Sexual Exploitation of
                                        §     Minors
                                        §     Count 3-4: 18 U.S.C. § 2252(a)(4)(B)     -
                                        §     Possession of Material Involving the
                                        §     Sexual Exploitation of Minors
                                        §     Count 5: 21 U.S.C. §841(a)(1) & (b)(1),
                                        §     860, 18 U.S.C. § 2 Aiding & Abetting
                                        §     the Manufacture of a Controlled
                                        §     Substance Near a School
                                        §     Count 6: 21 U.S.C. § 856 -- Maintaining
                                        §     a Drug Manufacturing Premises
                                        §
                                        §
                                        §      Notice of Forfeiture            -
THE GRAND JURY CHARGES THAT:                         EP12CT1'                              I
                                    COUNT ONE
               (18 U.S.C. § 2252(a)(2) Receipt of Child Pornography)

      Beginning on or about April 27, 2008, and continuing until on or about October 3,

2012, in the Western District of Texas and elsewhere, the defendant,

                             MARK EDWARD ERHARDT,

knowingly received and attempted to receive a visual depiction that was shipped or

transported in or affecting interstate or foreign commerce, by any means including by

computer, and the production of such visual depiction involved the use of a minor
engaging in sexually explicit conduct and the visual depiction is of such conduct, all in

violation of 18 U.S.C. § 2252(a)(2) and (b).

                                      COUNT TWO
               (18 U.S.C. § 2252(a)(2) Distribution of Child Pornography)

       On or about August 21, 2012, in the Western District of Texas and elsewhere, the

defendant,

                              MARK EDWARD ERHARDT,

knowingly attempted to distribute a visual depiction that was shipped or transported in or

affecting interstate or foreign commerce, by any means including by computer, and the

production of such visual depiction involved the use of a minor engaging in sexually

explicit conduct and the visual depiction is of such conduct, all in violation of 18 u.s.c. §

2252(a)(2).

                                      COUNT THREE
              (18 U.S.C. § 2252(a)(4)(B) -- Possession of Child Pornography)

       On or about August 21, 2012, in the Western District of Texas and elsewhere, the

defendant,

                                MARK EDWARD ERHARDT,

did knowingly possess at least one matter which contained a visual depiction that was

produced using materials which had been shipped and transported using any means and

facility of interstate and foreign commerce, including by computer, and the production of

such visual depiction involved the use of a minor engaging in sexually explicit conduct,

and such visual depiction was of such conduct, all in violation of Title 18, United States

 Code, Section 2252(a)(4)(B).
                                      COUNT FOUR
             (18 U.S.C. § 2252(a)(4)(B) -- Possession of Child Pornography)

      On or about October 3, 2012, in the Western District of Texas and elsewhere, the

defendant,

                               MARK EDWARD ERHARDT,

did knowingly possess at least one matter which contained a visual depiction that was

produced using materials which had been shipped and transported using any means and

facility of interstate and foreign commerce, including by computer, and the production of

such visual depiction involved the use of a minor engaging in sexually explicit conduct,

and such visual depiction was of such conduct, all in violation of Title 18, United States

Code, Section 2252(a)(4)(B).

                                      COUNT FIVE
             (21 U.S.C. § 841(a)(1) & 860, 18 U.S.C. § 2  Aiding & Abetting
                                     Controlled Substance Near School)
                Manufacture of a                                  a

       On or about October 1, 2012, in Western District of Texas, Defendant,

                                 MARK EDWARD ERHART,

knowingly and intentionally manufactured methamphetamine, a Schedule II controlled

substance, in violation of Title 21, United States Code, Section 841(a), within 1,000 feet of

Fanin Elementary School, an elementary school, all in violation of Title 21, United States

Code, Sections 841(a)(1) and 860.

                                         COUNT SIX
        (21 U.S.C. § 856(a)(2)   -   Maintaining A Drug Manufacturing Premises)

       On or about October 1, 2012, in the Western District of Texas, Defendant

                                 MARK EDWARD ERHART,

While controlling a building at 10459 Kendall Street, El Paso, Texas, as the lessee and

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     occupant, did knowingly and intentionally make available for use, with and without

     compensation, said building for the purpose of unlawfully manufacturing, storing and

     using a controlled substance, to wit: methamphetamine, a Schedule                 II   controlled

     substance, all in violation of Title 21, United States Code, Section 856(a)(2).



                            Notice of Government's Demand for Forfeiture
                                          (18.S.C. § 2253)

            As a result of the commission of one or more of the offenses alleged in Counts One

     through Four, the Defendant, MARK EDWARD ERHARDT, shall forfeit to the United

     States, pursuant to Title 18, United States Code, Section 2253, all right, title and interest

     of the defendant in any and all visual depictions described in Title 18, United States Code,

     Sections 2251, 2251A, or 2252, and any and all books, magazines, periodicals, films,

     videotapes, and other matters which contain any such visual depiction, which were

     produced, transported, mailed, shipped or received in violation of Chapter 110 of Title 18,

     Part I, United States Code; any property, real and personal, constituting or traceable to

     gross profits or other proceeds obtained from such offenses; and any property, real and

     personal, used or intended to be used to commit or to promote the commission of such

     offenses, and any property traceable to such property.

                                         A TRUE BILL.
                                                 ORIGINAL SIGNATURE
                                                REDAc    PURSUANT TO
                                              E-GOVEENTACT OF 2002
                                         FOREPERSON OF THE GRAND JURY

     ROBERT PITMAN
     UNITED STATES ATTORNEY


BY
     Assistnt U.S. Attorney
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